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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   RUSSELL SMITHSON,

 9                             Plaintiff,                 Case No. C19-1672 RAJ

10          v.                                            ORDER

11   SUZI PUCKETT, et al.,

12                             Defendants.

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14          Having reviewed the Report and Recommendation of the Honorable Michelle L.
     Peterson, United States Magistrate Judge, any objections or responses to that, and the remaining
15
     record, the Court finds and ORDERS:
16
            (1)      The Court ADOPTS the Report and Recommendation.
17          (2)      Defendants’ motion for summary judgment (Dkt. # 33) is GRANTED and
     Plaintiff’s amended complaint and this action are dismissed with prejudice.
18
            The Clerk is directed to send copies of this Order to the parties and to Judge Peterson.
19

20          Dated this 20th day of October, 2020.

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22
                                                          A
                                                          The Honorable Richard A. Jones
23                                                        United States District Judge




     ORDER - 1
